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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIVISION
BANNER LIFE INSURANCE COMPANY, )
Plaintiff, §
V. ) Case No. 05-1070
MARGARET JOHNSON, §
Defendant. §

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE AND DIRECTING
PAYMENT OF REGISTRY FUNDS TO DEFENDANT

 

It appearing to the Court that plaintiff, Banner Life Insurance Company
("Banner"), and defendant Margaret C. Johnson, have reached an agreement resolving the
issues raised in Banner's Complaint, the Court, for good cause shown, finds as follows:

l. This Court has jurisdiction over the subject matter and the parties;

2. Banner filed this action seeking rescission of life insurance Policy No.
173666074, insuring the life of William C. Johnson, Who died of lung cancer
approximately three months after Banner issued the policy;

3. Pursuant to this Court‘s Order of March 28, 2005, Banner deposited the
Sum of$351.84 With the Clerk of this Coul't, and those sums represent the sum of
premiums paid for Policy No. 17B666074;

4. The parties agree that Policy No. 17B666074 shall be rescinded and that
defendant, Margaret Johnson, is entitled to payment of the $351.84 Banner deposited

With the Clerk;

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5. The parties further agree that this action should be dismissed with
prejudice upon the Clerk's payment to defendant of$351.84, and that no fees or costs
should be awarded to either party; and

6. The parties' agreement resolves all issues raised in Banner‘s complaint

lT IS THEREFORE ()RDERED, DECREED AND ADJUDGED that Banner Life
Insurance Policy No. l7B6660'/`4 is hereby rescinded and declared void ab inttfo', it is
further ORDERED that the C]erk of the United States District Court is directed to issue a
check from the registry to defendant in the amount of 3351.84, representing the sum
previously deposited With the Clerk by Banner; it is further ORDERED this action is

hereby dismissed With prejudice, and that no costs are assessed to either party.

Jarnes D. Todd
ited States District Judge
AGREED: / f WM

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S. Iédssell Headrick

Leigh M. Chiles

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Attorneys for Banner Life Insurance Cornpany

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01070 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

S. Russell Headrick

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Honorable J ames Todd
US DISTRICT COURT

